         Case 2:21-cv-01659-SM-DPC Document 1 Filed 09/02/21 Page 1 of 10




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 BRIAN ZIMMER, on behalf of himself
 and all others similarly situated within the
 State of Louisiana,
                                                     CIVIL ACTION:
         Plaintiff,
                                                     JUDGE:
 V.
                                                     MAGISTRATE:
 GENERAC POWER SYSTEMS, INC.

         Defendant


                                 CLASS ACTION COMPLAINT

         Representative Plaintiff Brian Zimmer (hereinafter referred to as “Mr. Zimmer”), for his

Complaint against Defendant Generac Power Systems, Inc. (hereinafter referred to as “Generac”)

alleges the following:

                                   NATURE OF THE ACTION

      1. This is a class action against Defendant Generac for the manufacture and sale of defective

         Home Standby Generators (hereinafter “Generators”) in the State of Louisiana, all of which

         suffer from a design and/or parts defect.

      2. The design and/or parts defect causes the Generator to either not function or abruptly stop

         functioning shortly after being placed into service. This defect renders the Generator

         unsuitable for its principal and intended use: home power generation during short and

         extended period of electrical outage. Upon information and belief, the Generators’

         defective nature spans across all Home Standby Generators manufactured and sold by

         Generac, because they are all manufactured by one manufacturer and have essentially the

         identical electrical, physical, mechanical and functional characteristics, which utilize the



                                                                                        Page 1 of 10
   Case 2:21-cv-01659-SM-DPC Document 1 Filed 09/02/21 Page 2 of 10




   same or similar component parts for each model. Thus, the defect manifests itself equally

   across all models of Home Standby Generators manufactured and sold by Generac.

3. Representative Plaintiff purchased a Generator in March of 2021, which was installed at

   his home in Mandeville, Louisiana.

4. Plaintiff lost power due to the adverse weather conditions produced as a result of Hurricane

   Ida on or about August 29, 2021.

5. Upon losing power, Mr. Zimmer’s Generator came into service, but then ceased operating

   shortly thereafter, leaving his home without electricity. Mr. Zimmer’s Generator was

   inspected by generator technicians shortly after going out of service and after Hurricane

   Ida had passed, who advised that due to a defective part, the engine was not receiving

   adequate voltage, and thus, ceased operating.

6. Upon information and belief, Generac is aware of the defective condition of its Home

   Standby Generators but has not taken adequate steps to remedy the issues caused by the

   defect.

7. Notably, Generac has not provided notice to class members of the defective and/or faulty

   condition of its Home Standby Generators. Generac has not offered any form of monetary

   relief to purchasers.

8. Upon information and belief, even consumers who attempt to have their Generators

   repaired are facing difficulty due to unavailability of replacement parts.

9. Generac sold the Generators to unsuspecting consumers upon the affirmative

   misrepresentation and/or material omission that the Generators were fit for their intended

   purpose; i.e. the ability to simply and seamlessly generate power at home during short and

   extended periods of electrical outage. None of these customers would have purchased the




                                                                                  Page 2 of 10
   Case 2:21-cv-01659-SM-DPC Document 1 Filed 09/02/21 Page 3 of 10




   Generators had they known of this highly material fact; that the Generators are defective

   and fail to perform as advertised.

10. With thousands of units sold at approximately $1,900.00 to $15,000.00 or more, Generac

   has profited enormously from its failure to timely disclose the product defect to purchasers.

11. As a direct result of Generac’s actions, Representative Plaintiff and Class Members have

   suffered injury in fact, have been damaged, and have suffered monetary and property losses

   for having paid more money than they otherwise would have for a defectively designed

   Generator.

12. Plaintiff brings his claims against Defendant individually and on behalf of a class of all

   other similarly situated Louisiana citizens who purchased a defective Generator. These

   claims are brought pursuant to the laws of Louisiana.

                                         PARTIES

13. Plaintiff Brian Zimmer is, and at all times herein mentioned was a resident within this

   district and citizen of the State of Louisiana.

14. Defendant Generac Power Systems, Inc. is a corporation duly organized and existing under

   and by the virtue of the laws of the State of Wisconsin, with its principal place of business

   in Waukesha, Wisconsin and transacting the business in the State of Louisiana and within

   this judicial district.

                             JURISDICTION AND VENUE

15. Jurisdiction is proper under 28 U.S.C. § 1332(d), in that the aggregate amount in

   controversy for all class members exceed $5,000,000.00.




                                                                                   Page 3 of 10
   Case 2:21-cv-01659-SM-DPC Document 1 Filed 09/02/21 Page 4 of 10




16. Venue is proper in this district under 28 U.S.C. § 1391(a)(1)(2) by virtue of (i) the residence

   of Plaintiff in this district and (ii) that a substantial part of the events giving rise to the

   claims occurred in this district.

                           CLASS ACTION ALLEGATIONS

17. Plaintiff brings Cause of Action I, II and IIII, Count II, as set forth below, on behalf of

   themselves and as a class action, pursuant to the provisions of Rule 23 of the Federal Rule

   of Civil Procedure on behalf of a class defined as:

   All persons within the State of Louisiana who purchased a Home Standby Generator

   from Generac.

   Excluded from the Class are Generac and its affiliates, parents, subsidiaries, employees,

   officers, agents, and directors. Also excluded is any judicial officer presiding over this

   matter and the members of their immediate families and judicial staff.

18. Certification of Plaintiff’s claims for class-wide treatment is appropriate because Plaintiff

   can prove the elements of their claims on a class-wide basis using the same evidence as

   would be used to prove those elements in individual actions alleging the same claims.

19. Numerosity – Federal Rule of Civil Procedure 23(a)(1). The members of the Class are

   so numerous that their individual joinder herein is impracticable. Upon information and

   belief, Class members number in the thousands. The precise number of Class members

   and their addresses are presently unknown to Plaintiff, but may be ascertained from the

   records of Defendant. Class members may be notified of the pendency of this action by

   mail, e-mail, internet postings, and/or publication.

20. Commonality and Predominance – Federal Rule of Civil Procedure 23(a)(2) and

   23(b)(3). Common questions of law and fact exist as to all Class members and predominate




                                                                                     Page 4 of 10
   Case 2:21-cv-01659-SM-DPC Document 1 Filed 09/02/21 Page 5 of 10




   over questions affecting only individual Class members. Such common questions of law

   or fact include:

   (a) Whether Generac engaged in the conduct alleged herein;

   (b) Whether Generac designed, advertised, marketed, distributed, sold, or otherwise placed

       Generators into the stream of commerce in the United States;

   (c) Whether the Generators contain a defect that causes the Generators to fail to properly

       function;

   (d) Whether the Generators can be made to operate as advertised;

   (e) Whether Generac knew about the defect and, if so, for how long;

   (f) Whether Generac knowingly designed, manufactured, marketed, and distributed the

       Generators in a defective nature;

   (g) Whether Generac’s conduct violates La. C.C. Art. 2520;

   (h) Whether Plaintiff and Class Members overpaid for their Generators;

   (i) Whether Plaintiff and Class Members are entitled to equitable relief, including, but not

       limited to, rescission of the sale; and

   (j) Whether Plaintiff and Class Members are entitled to damages and other monetary relief

       and, if so, in what amount.

21. Defendant engaged in a common course of conduct giving rise to the legal rights sought to

   be enforced by Plaintiff, on behalf of themselves and the other Class members. Similar or

   identical statutory and common law violations, business practices, and injuries are

   involved. Individual questions, if any, pale by comparison, in both quality and quantity, to

   the numerous common questions that dominate this action.




                                                                                  Page 5 of 10
   Case 2:21-cv-01659-SM-DPC Document 1 Filed 09/02/21 Page 6 of 10




22. Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s claims are typical of

   the claims of the other Class members because, among other things, all Class members

   were comparably injured through Defendant’s uniform conduct described above. Further,

   there are no defenses available to Defendant that are unique to named Plaintiff.

23. Adequacy of Representation – Federal Rule of Civil Procedure 23(a)(4). Plaintiff is

   an adequate Class representative because his interest does not conflict with the interests of

   the other Class members he seeks to represent; they have retained counsel competent and

   experienced in complex class action litigation; and Plaintiff will prosecute this action

   vigorously. The Class’ interests will be fairly and adequately protected by Plaintiff and

   their counsel.

24. Insufficiency of Separate Actions – Federal Rule of Civil Procedure 23(b)(1). Absent

   a representative class action, members of the Class would continue to suffer the harm

   described herein, for which they would have no remedy. Even if separate action could be

   brought by individual consumers, the resulting multiplicity of lawsuits would cause undue

   hardship and expense for both the Court and the litigants, as well as create a risk of

   inconsistent rulings and adjudications that might be dispositive of the interests of similarly

   situated purchasers, substantially impeding their ability to protect their interests, while

   establishing incompatible standards of conduct for Defendant. The proposed Class thus

   satisfies the requirements of Fed. R. Civ. P. 23(b)(1).

25. Declaratory and Injunctive Relief – Federal Rule of Civil Procedure 23(b)(2).

   Defendant has acted or refused to act on grounds generally applicable to Plaintiff and the

   other Class members, thereby making appropriate final injunctive relief and declaratory

   relief, as described below, with respect to the members of the Class as a whole.




                                                                                    Page 6 of 10
   Case 2:21-cv-01659-SM-DPC Document 1 Filed 09/02/21 Page 7 of 10




26. Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action is superior to

   any other available means for the fair and efficient adjudication of this controversy, and no

   unusual difficulties are likely to be encountered in the management of this class action.

   The damages or other financial detriment suffered by Plaintiff and the other Class members

   are relatively small compared to the burden and expense that would be required to

   individually litigate their claims against Defendant, so it would be impracticable for Class

   members to individually seek redress for Defendant’s wrongful conduct. Even if Class

   members could afford individual litigation, the court system could not. Individualized

   litigation creates a potential for inconsistent or contradictory judgments, and increases the

   delay and expense to all parties and the court system. By contrast, the class action device

   presents far fewer management difficulties, and provides the benefits of single

   adjudication, economy of scale, and comprehensive supervision by a single court.

                            CAUSE OF ACTION I: Redhibition

27. Plaintiff hereby incorporates by reference the allegations contained in the preceding

   paragraphs of this Complaint.

28. Plaintiff, individually and on behalf of Class Members, submits only Louisiana state law

   causes of action.

29. Plaintiff, individually, and on behalf of Class Members, specifically pleads redhibition

   under Louisiana Civil Code Article 2520, et seq. At all relevant times, the Generators were

   defective in failing to provide, among other things, a properly functioning power

   generating machine as advertised by Generac.

30. The defect in Defendant’s Generators existed at the time of purchase by Plaintiff and Class

   Members.




                                                                                   Page 7 of 10
   Case 2:21-cv-01659-SM-DPC Document 1 Filed 09/02/21 Page 8 of 10




31. Defendant is the manufacturer of the defective Generators purchased by Plaintiff and Class

   Members, thus pursuant to La. C.C. art. 2545, Defendant is deemed to have known at the

   time of sale that the Generators they sold to Plaintiff and Class Members contained a

   redhibitory defect.

32. Defendant is liable to Plaintiff and Class Members for return of the purchase price of all

   Generators purchased with interest form the time of purchase, for the reimbursement of all

   reasonable expenses incurred by Plaintiff and Class Members occasioned by the purchase

   of the Generators, and reasonable attorneys’ fees.

                       CAUSE OF ACTION II: Breach of Express Warranty

33. Plaintiff hereby incorporates by reference the allegations contained in the preceding

   paragraphs of this Complaint.

34. Plaintiff, individually and on behalf of Class Members, submits only Louisiana state law

   causes of action.

35. Plaintiff, individually and on behalf of Class Members, in alternative to his redhibition

   cause of action, specifically pleads Breach of Express Warranty.

36. Defendant provided Plaintiff and Class Members with an express warranty that the

   Generators were fit for the purpose for which they were sold.

37. Defendant’s Generators failed to operate as warranted and therefore Defendant is in breach

   of its express warranty as to the fitness of the Generators for their intended purpose.

                            CAUSE OF ACTION III: Quanti Minoris

38. Plaintiff hereby incorporates by reference the allegations contained in the preceding

   paragraphs of this Complaint.




                                                                                   Page 8 of 10
      Case 2:21-cv-01659-SM-DPC Document 1 Filed 09/02/21 Page 9 of 10




   39. Plaintiff, individually and on behalf of Class Members, submits only Louisiana state law

       causes of action.

   40. Plaintiff, individually and on behalf of Class Members, in alternative to his redhibition and

       breach of express warranty causes of action, specifically plead quanti minoris under

       Louisiana Civil Code Article 2520, et seq. in that Plaintiff, individually and on behalf of

       Class Members, is entitled to a reduction in the purchase price of the sale, for the estimated

       cost of repairs, and attorneys’ fees.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff and Class members pray for relief and judgment against

Defendant as follows:

   1. Preliminary and permanent injunctive relief requiring Generac to immediately halt all

       manufacturing, marketing and sale of defective Home Standby Generators;

   2. For damages according to proof;

   3. That Plaintiff and the Class members be awarded damages sufficient to deter and make an

       example of Defendant;

   4. Attorneys’ fees expended and incurred in recovery of monetary damages and in other relief

       for the Plaintiff and Class Members, such sum to be determined at the time of trial or as

       appropriate;

   5. Costs of suit incurred herein;

   6. An award of prejudgment and post-judgment interest; and

   7. Such other and further relief as deemed and appropriate by this Court.

                                        JURY DEMAND

       Plaintiff demands trial by jury on all issues for which a jury trial is allowed.




                                                                                          Page 9 of 10
      Case 2:21-cv-01659-SM-DPC Document 1 Filed 09/02/21 Page 10 of 10




                                       Respectfully Submitted:

                                       /s/ Preston L. Hayes
                                       _____________________________________
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Waiver of Service to be requested




                                                                      Page 10 of 10
